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                 EXHIBIT 5
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     TALITHIA NEWSOME                                                July 12, 2022
     UNITED STATES vs STATE OF GEORGIA                                           1

·1· · · · · · ·IN THE UNITED STATES DISTRICT COURT
· · · · · · · FOR THE NORTHERN DISTRICT OF GEORGIA
·2· · · · · · · · · · · ATLANTA DIVISION

·3· · · UNITED STATES OF AMERICA,

·4· · · · · · ·Plaintiff,· · · · · · CIVIL ACTION NO.
· · · · vs.· · · · · · · · · · · · · 1:16-CV-03088-ELR
·5
· · · · STATE OF GEORGIA,
·6
· · · · · · · ·Defendant.
·7

·8· ·Videotaped deposition of TALITHIA NEWSOME, taken on

·9· ·behalf of the Plaintiff, pursuant to Notice and

10· ·agreement of counsel, in accordance with the Federal

11· ·Rules of Civil Procedure, before Maureen S. Kreimer,

12· ·CCR, CRR, Notary Public, at 864 Broad Street, Augusta,

13· ·Georgia on July 12, 2022 between the hours of 9:15

14· ·a.m. and 6:47 p.m.

15· ·____________________________________________________

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·1· ·going to even just say it's behavioral, just that
·2· ·they're in crisis and had some type of mental health
·3· ·need.
·4· · · · Q.· ·And when the students are enrolled, do they
·5· ·immediately -- like if a student transfers to your
·6· ·area or is released from hospitalization or
·7· ·residential treatment, do they automatically start
·8· ·school in the GNETS program, or do they start in the
·9· ·LEA until this process is completed?
10· · · · A.· ·They start in the LEA.· So there is no
11· ·automatic placement.· They have to still show that
12· ·they need the services.
13· · · · Q.· ·Okay.· And then, lastly, I want to turn to
14· ·this consultation section.· This is kind of like the
15· ·precursor of everything we've been talking about.
16· · · · A.· ·Mm-hmm (affirmative).
17· · · · Q.· ·Can you -- I know you've talked about this
18· ·in passing as we've been talking about the process for
19· ·referrals, but what exactly is meant by the term
20· ·consultation?
21· · · · A.· ·Consultation is a term that we use when
22· ·we're providing support to the different LEAs.· So if
23· ·we had a LEA who might contact our program, say, hey,
24· ·I have got a couple of teachers who need some support
25· ·on conducting a functional behavior assessment, or do


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·1· ·you have anybody who can conduct a functional behavior
·2· ·assessment to help us develop behavior intervention
·3· ·plan, we would go on site to do that.
·4· · · · · · ·Sometimes they just might want us to come
·5· ·out, hey, can you come out and do some observations on
·6· ·a student and give us some recommendations on some
·7· ·things that we can put in place for the student.
·8· · · · · · ·Sometimes they might call us and ask do we
·9· ·have information regarding resources that might be
10· ·available for a student, or can we look at data that's
11· ·been collected, can you -- what's this showing?
12· · · · · · ·But basically it's that support.· And not
13· ·necessarily looking for placement or services.· They
14· ·are just looking for some additional support and
15· ·expertise for staff for working in the GNETS program.
16· · · · Q.· ·Okay.· And I think you mentioned this
17· ·earlier, but who in your staff is providing these
18· ·services directly to the school districts?
19· · · · A.· ·It could be the -- oh, and the other thing
20· ·is professional learning, too.· We do a lot of
21· ·professional learning.· It could be the GNETS liaison,
22· ·it could be the coordinator, it could be the director
23· ·providing those services.· And sometimes we'd use our
24· ·counselor to go out and do some of those things as
25· ·well.


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·1· · · · Q.· ·Okay.· So walking through each of the ones
·2· ·that are listed here, FBA coaching, who would
·3· ·typically be the person on your staff who would
·4· ·provide that support?
·5· · · · A.· ·The liaison and the coordinators and
·6· ·director.
·7· · · · Q.· ·And last school year approximately how many
·8· ·times was your program requested to provide FBA
·9· ·coaching?
10· · · · A.· ·None.
11· · · · Q.· ·None?
12· · · · A.· ·No.
13· · · · Q.· ·And prior school years, roughly how many
14· ·times would your GNETS program have been contacted for
15· ·that service?
16· · · · A.· ·So I can say that in the Thomson site for
17· ·the FBA piece, we had one -- two directors contact us
18· ·about doing some FBA coaching and behavior
19· ·intervention plan development.
20· · · · Q.· ·And for Richmond?
21· · · · A.· ·Not so much with the FBA and behavior
22· ·intervention plan.· We had more requests for
23· ·professional learning through MindSet, and we did the
24· ·training for -- and my years are going to run
25· ·together.· So it could be -- we did the MindSet


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·1· ·training for all of those schools that were
·2· ·considered required technical assistance, and behavior
·3· ·was one of those areas, we did MindSet training for
·4· ·all of them.· That might have been ten schools that we
·5· ·went out and provided support for.· And that's FY --
·6· ·not '21-'22, but '20-'21.
·7· · · · Q.· ·And then for direct consultation, who from
·8· ·your staff provides those services?
·9· · · · A.· ·That could be the GNETS liaison or the
10· ·coordinator.
11· · · · Q.· ·Last school year how many times did you
12· ·receive a request for a direct consultation?
13· · · · A.· ·Let's see.· I don't know that we received
14· ·any last year because schools were out so much other
15· ·than we did receive a couple of requests for
16· ·observations in the Thomson site.· And I want to say
17· ·it wasn't more than three between the two sites.
18· · · · Q.· ·And did any of those students ultimately end
19· ·up coming to GNETS?
20· · · · A.· ·No, not from the year, not last year, no.
21· · · · Q.· ·And do you know why that would be?
22· · · · A.· ·The student could have moved.· I know one
23· ·particular situation.· I'm not sure if it was
24· ·something going on in that school system between the
25· ·parent and the system; and that, we just never moved


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·1· ·forward with anything else, and they never reached
·2· ·back out to us.
·3· · · · Q.· ·And for the other students do you know why
·4· ·they did not end up going to GNETS?· For example, did
·5· ·you-all determine or, I guess, through the
·6· ·consultation process?
·7· · · · A.· ·Well, one thing that they decided is that
·8· ·they were going to go through the behavioral support
·9· ·class before they referred them on to us.
10· · · · Q.· ·And then for Indirect Consultation, who
11· ·typically provides that service?
12· · · · A.· ·It could be the GNETS liaison, it could be
13· ·the director, it could be the coordinator.· And with
14· ·that it might be, Hey, can you look at this child's
15· ·record?· Typically it's with transfer students.· Can
16· ·you look at this child's record to see if this might
17· ·be a student who would be eligible for your program?
18· · · · · · ·If they are not coming straight from a GNETS
19· ·program, maybe they are coming from out of state.
20· ·They might ask us to look at that.· If there are some
21· ·questions regarding what the data is showing for the
22· ·behavior intervention plan, or from the IEP they might
23· ·look at that and ask us for recommendations as well.
24· · · · Q.· ·And how many requests for indirect
25· ·consultation did you receive?


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·1· · · · A.· ·Oh, those came through email.· So I'm going
·2· ·to say this year I think I have gotten three.· And
·3· ·those did come straight to me for the Richmond site.
·4· ·Thomson, she may have gotten two -- and these are
·5· ·really rough numbers.
·6· · · · Q.· ·That's fine.
·7· · · · A.· ·She may have gotten two.· And these are
·8· ·really rough numbers.
·9· · · · Q.· ·That's fine.
10· · · · A.· ·She may have gotten two.· That one is very
11· ·informal.
12· · · · Q.· ·And how has that compared to prior years?
13· · · · A.· ·I can't answer that.· I don't know.
14· · · · Q.· ·Okay.· Until for last year the requests that
15· ·you did receive, did any of those students end up
16· ·coming to your GNETS program?
17· · · · A.· ·Actually, they didn't.· They just didn't
18· ·move to the area for the ones that I'm thinking about.
19· ·These numbers -- I think I said they were primarily
20· ·transferred in.· They just didn't move to the area.
21· · · · · · ·MS. HAMILTON:· All right.· I'm going to hand
22· · · · the court reporter what I'd like to have marked
23· · · · as Plaintiff's Exhibit 202.
24· · · · (Plaintiff's Exhibit P-202 marked.)
25· ·BY MS. HAMILTON:


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